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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CIV-60825-RAR

  UNITED STATES,

         Plaintiff,

  v.

  ROGER J. STONE, et al.,

        Defendants.
  ___________________________/

                  ORDER REQUIRING PLAINTIFF TO PERFECT SERVICE
                         ON DEFENDANT RUSSELL HARRIS

         THIS CAUSE comes before the Court upon sua sponte review of the docket. On May 17,

  2021, the Court issued an Order to Perfect Service [ECF No. 6] (“Order”), ordering Plaintiff to

  perfect service upon Defendants by July 15, 2021 or show good cause as to why their claims

  against Defendants should not be dismissed.

         On June 15, 2021, Defendants Roger Stone, Nydia Stone, Bertran Family Revocable Trust,

  and Drake Ventures LLC (“Stone Defendants”) filed an unopposed motion to stay the case for

  ninety days [ECF No. 22] (“Motion to Stay”). The Motion to Stay indicated that Plaintiff would

  continue its efforts to perfect service on Defendant Russell Harris while the case was stayed. The

  Court granted the Motion to Stay on June 16, 2021 [ECF No. 24] and administratively closed the

  case, stating that during the stay Plaintiff may continue its efforts to serve Russell Harris. To date,

  the record does not reflect that Plaintiff has served Russell Harris. Accordingly, it is

         ORDERED AND ADJUDGED that Plaintiff shall perfect service on Defendant Russell

  Harris—or file an appropriate motion for an extension of time to do so—on or before July 28,

  2021. Failure to comply with this Order will result in the dismissal of the claims against Russell

  Harris without further notice.
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        DONE AND ORDERED in Fort Lauderdale, Florida this 18th day of July, 2021.




                                                     _________________________________
                                                     RODOLFO A. RUIZ II
                                                     UNITED STATES DISTRICT JUDGE




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